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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


LEODITUS ARAMUS SMITH,

                               Movant,

v.                                                    CIVIL ACTION NO. 3:10-1398
                                                      (Criminal No. 3:09-00158-06)
UNITED STATES OF AMERICA,

                               Respondent.


                          MEMORANDUM OPINION AND ORDER


       This action was referred to the Honorable Cheryl A. Eifert, United States Magistrate Judge,

for submission to this Court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of fact and

recommended that the Court deny Movant’s Application Under 28 U.S.C. § 2255 for Writ of Habeas

Corpus by a Person in State or Federal Custody (Doc. #425) and his Motion to Supplement

Pleadings (Doc. #466), dismiss this civil action with prejudice, and remove it from the docket of this

Court. Neither party has filed objections to the Magistrate Judge’s findings and recommendation.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and DENIES Movant’s Application Under 28 U.S.C. § 2255 for Writ of

Habeas Corpus by a Person in State or Federal Custody (Doc. #425) and his Motion to Supplement

Pleadings (Doc. #466), DISMISSES this civil action with prejudice, and removes it from the docket

of this Court, consistent with the findings and recommendation.
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       The Court DIRECTS the Clerk to forward copies of this written opinion and order to all

counsel of record, and any unrepresented parties.




                                            ENTER:        August 10, 2012




                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE




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